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      IT IS ORDERED as set forth below:




      Date: June 7, 2018



_____________________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF GEORGIA
                                     SAVANNAH DIVISION

      In re:                                           §
                                                       §   Chapter 7
               RONALD MCELHANEY,                       §   Case No. 17-40839-EJC
                                                       §
                      Debtor.                          §
                                                       §

      CONSENT ORDER ON MOTION TO SELL AND REQEUST TO DEFER FILING FEE

                   The Chapter 7 Trustee, Tiffany E. Caron (“Trustee”), having filed a Motion to Sell

      property at 526 E. 46th St., Savannah, GA 31405 (the “Property), and request to defer filing fee,

      proper notice having been given, and it appearing that such motion should be granted; it is

      therefore,

                   ORDERED, ADJUDGED, and DECREED that the Motion filed by Trustee in the

      captioned Chapter 7 case, is hereby granted as follows:

               The Trustee is authorized to sell 526 E. 46th St., Savannah, GA 31405, to Michael and

      Jennifer Krzmarzick (“Purchasers”), for $425,000.00 with the sale to close on or around June 15,

      2018, or by extension as agreed to by the parties.
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      Sales proceeds shall be distributed as follows:

         a) Sales Commission of up to a maximum of six percent (6%) of the sales price,

         $25,500.00, shall be paid to and split between Chelsea Phillips of Keller Williams

         Coastal Area Partners (up to 2.4%) and Heather Booth of Cora Bett Thomas Realty

         (up to 3.6%) for real estate commission;

          b) Debtor’s share of Prorated Real Estate Taxes and Seller Paid Closing Costs

          (estimate: $2,500);

          c) Wells Fargo shall be paid the full payoff amount of its first priority debt as of the

          closing date, or as extended by agreement of the parties;

          d) Trustee is working with Wells Fargo on approval of a carve-out agreement which

          would provide for a reduced payoff to Wells Fargo on its second priority HELOC

          (“Wells Fargo Carve-Out”);

          e) The remaining sales proceeds after the above items are paid (“Net Proceeds”),

          shall be paid 30% to Patricia Emrich, at closing, pursuant to the Order (Doc. #55)

          and 70% to Tiffany E. Caron, Chapter 7 Trustee, for distribution by the Trustee

          pursuant to an Interim and/or Final Distribution by further Order of this Court after

          notice and opportunity for hearing. The following is an estimated distribution based

          on the above disbursements and an estimated debt reduction by Wells Fargo of

          $40,000.00 (Net Proceeds would be reduced dollar for dollar to the extent the

          amount of the Wells Fargo Carve-Out is less than estimated):
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              526 E. 46th Street, Savannah, GA 31405                   Bankrutpcy Costs

              Gross Sales Price                         $ 425,000.00   Trustee Statutory Commission           $ 23,837.26
              Less Buyer Closing Costs/Repairs          $        -     Trustee Attorney's Fees                $ 3,520.00
              Net Sales Price                           $ 425,000.00   Trustee Attorney's Expenses            $ 375.00
              RE Commission                             $ 25,500.00    Pat Emrich Split per Adversary Order   $ 13,254.73
              Total Before Payoffs                      $ 399,500.00   Total Admin Costs                      $ 40,986.99

    Estimated Property Taxes and Seller Closing Costs   $   2,500.00   Unsecured Creditor Distribution        $ 3,195.45
       Actual 1st to Wells Fargo (as of 6/15/18)        $ 340,309.59
       Actual Line of Credit with WF (as of 6/15/18)    $ 52,507.97
              Total Debts                               $ 395,317.56

              Wells Fargo Write-Off                     $ 40,000.00

              Net Proceeds                              $ 44,182.44


       The deed to the Property shall vest good and marketable title in the Purchaser AS IS AND

WHERE IS, free and clear of all liens. No further Order shall be required by this Court with

respect to the transfer. The fourteen (14) day stay pursuant to Rule 4001 is waived. It is further,

       ORDERED that the filing fee for the Motion to Sell Free and Clear of Liens shall be

deferred unless or until there are liquid funds available to the estate from which to pay the fee.

                                           END OF DOCUMENT

PREPARED BY:

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Agreed and Consented to By:

WEINER, SHEAROUSE, WEITZ,
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